Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 1 of 20
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 2 of 20



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NEW YORK


       CONSUMER FINANCIAL                       Docket Number:
       PROTECTION BUREAU,                  1:24-cv-00040-EAW-MJR
       THE PEOPLE OF THE
       STATE OF NEW YORK,
       By Letitia James,
       Attorney General of the
       State of New York,
       STATE OF COLORADO,
       Ex rel, Philip J. Weiser,
       Attorney General,
       STATE OF DELAWARE,
       Ex rel. Kathleen Jennings,
       Attorney General,
       State of Delaware,
       THE PEOPLE OF THE
       STATE OF ILLINOIS,
       Through Attorney General
       Kwame Raoul,
       THE STATE OF MINNESOTA,
       By its Attorney General
       Keith Ellison,
       THE STATE OF NORTH CAROLINA,
       Ex rel. Joshua H. Stein,
       Attorney General,
       THE STATE OF WISCONSIN,    *
                                  *
       Plaintiffs,                *
                                  *
                                  *              Buffalo, New York
                    v.            *              April 22, 2024
                                  *              11:12 a.m.
                                  *
       STRATFS, LLC,                             ORAL ARGUMENT
       Formerly known as Strategic
       Financial Solutions, LLC.,
       STRATEGIC CLIENT SUPPORT,
       LLC, formerly known as
       Pioneer Client Services, LLC,
       STRATEGIC CS, LLC,
       STRATEGIC FS BUFFALO, LLC,
       STRATEGIC NYC, LLC,
       BCF CAPITAL, LLC,
       T FIN, LLC,
       STRATEGIC CONSULTING, LLC,
       VERSARA LENDING, LLC,
       STRATEGIC FAMILY, INC.,
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 3 of 20
                            Proceedings - 4/22/24                            110


 1   that's the whole point of avoiding the conflict.

 2              The law firms are adequately represented by

 3   Mr. Connors and there is no need for Mr. Elliott to be here,

 4   particularly when we have a claim of a conflict that's been

 5   raised.

 6              THE COURT:    I understand.   It's on the record.       Go

 7   ahead Mr. Elliott.      We don't need for Mr. Brady.     Mr. Elliott

 8   can go ahead and argue.

 9              MR. BRADY:    Thank you, Judge.

10              MR. ELLIOTT:    Thank you, Your Honor.     In the last few

11   minutes you've heard a lot about Mr. McNamara's concerns and

12   Mr. Boyd's great skepticism about the law firms.

13              You've heard a lot of rocks thrown at them, the law

14   firms are unethical.      They are fee splitting.     They are

15   misleading their clients.      They are a facade, an alter ego for

16   us, at best.

17              I will remind the Court that despite those concerns

18   and despite that skepticism, there is not a single claim that

19   has been asserted against the law firms.

20              So this isn't an example of claims that have been made

21   above, not been proven.      They haven't even asserted those

22   claims.

23              THE COURT:    Well, they assert the law firms and the

24   defendants are all one in the same.        It's -- it's difficult to

25   even separate them.
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 4 of 20
                            Proceedings - 4/22/24                          111


 1              Why did you guys send out this e-mail without telling

 2   me or asking me?

 3              And you didn't tell anybody else.       Why did you do

 4   that?   I'm flabbergasted that you guys did that.

 5              MR. ELLIOTT:    Your Honor, we --

 6              THE COURT:   I can't believe it.     I can't believe after

 7   all we've been through in this case, you unilaterally decided to

 8   send out that notice.

 9              MR. ELLIOTT:    We were trying to come into compliance

10   with Your Honor's --

11              THE COURT:   I think that's bologna.      I think that's

12   bologna.    I'm -- I'm flabbergasted that you guys sent that out

13   without telling anybody.

14              MR. ELLIOTT:    Your Honor, the law firms rendered an

15   opinion.    We consulted with ethics counsel in two different

16   states.

17              THE COURT:   Well, you better get new ethics counsel,

18   because I don't think you were on the straight and narrow with

19   that.

20              MR. ELLIOTT:    We -- we did what we thought was

21   appropriate.

22              THE COURT:   Yeah?   Well, it wasn't.     It was not

23   appropriate for you to do that, to send out that notice without

24   letting anybody know, especially the Court.

25              MR. ELLIOTT:    I apologize, Your Honor.     It was not
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 5 of 20
                            Proceedings - 4/22/24                           112


 1   our --

 2              THE COURT:    Well, apologies don't cut it.      You

 3   shouldn't have done it.

 4              MR. ELLIOTT:    It was not our intent to be

 5   disrespectful to the Court.      But, Your Honor --

 6              THE COURT:    Well, that was the result.     After

 7   everything that we've worked on in this case, you went out

 8   unilaterally and sent out that notice to these consumers.

 9              And this case is all about protecting these consumers.

10              MR. ELLIOTT:    And we are trying to do that.

11              THE COURT:    I don't think so.    Not at all.    That thing

12   you sent out was a bunch of bologna.

13              You are trying to trick them into signing on with you

14   again.   Yet again.     The same people that have already been

15   victimized, sign them up again.

16              MR. ELLIOTT:    We don't believe they have been

17   victimized.

18              THE COURT:    I do.   And that's what I said in the

19   preliminary injunction.      You should have came to the Court and

20   asked to send out any notices or whatever to the consumers.

21              MR. ELLIOTT:    Your Honor, on behalf of the law firms,

22   I apologize again.

23              THE COURT:    Well, that don't cut it.     That don't cut

24   it.

25              MR. ELLIOTT:    Your Honor, from the law firms
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 6 of 20
                            Proceedings - 4/22/24                         113


 1   perspective, here's where we are.

 2              We have 65,000 clients.      Since January, they have been

 3   treading water.     The law firms cannot effectively settle debts.

 4   They cannot effectively defend them in litigation.

 5              THE COURT:   As far as I can tell, the law firms were

 6   never settling the debts.        It was the defendants, Strategic,

 7   that was settling the debts.       All you guys did was rubber stamp

 8   it.

 9              MR. ELLIOTT:    Your Honor --

10              THE COURT:   That's the information that I have and

11   everything that I've seen.

12              MR. ELLIOTT:    And -- and when we get to a point,

13   because that was really not part of the preliminary injunction

14   hearing, which focused on the face-to-face -- but when we get to

15   that part of the case, we will be prepared to show that every

16   settlement negotiation is properly supervised by attorneys.

17              If we had known that was going to be a concern, Your

18   Honor, we would have put that case on during the preliminary

19   injunction hearing.

20              We didn't --

21              THE COURT:   Well, it's a concern now, because you want

22   to start this new program, right?

23              MR. ELLIOTT:    No.

24              THE COURT:   Right?

25              MR. ELLIOTT:    No.    We want to provide to our
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 7 of 20
                            Proceedings - 4/22/24                           114


 1   clients -- we want to get our clients off the dime.          We have

 2   65,000 clients who are effectively treading water.

 3              The receiver has said that our vendor is Strategic,

 4   who is a vendor -- by the way, a very important vendor.

 5              THE COURT:    That notice that you sent out was very

 6   misleading.    It was misleading.     It was inaccurate.     It was

 7   inappropriate.

 8              What possessed you to send that out?

 9              MR. ELLIOTT:    We are trying to move our clients into a

10   new fee structure, so that they can get service.

11              THE COURT:    Yeah.   You are trying to move them into a

12   new fee structure.      You are trying to capture clients that you

13   are already have had and were accepting advanced fees from.

14              MR. ELLIOTT:    And offsetting the advanced fees against

15   the future contingent fees.

16              THE COURT:    Go ahead.

17              MR. ELLIOTT:    Your Honor, I -- again, I apologize.        I

18   know you say that doesn't cut it.

19              That was not the intent, but I want to explain to you

20   where the law firms are.      We have to get our clients serviced.

21              If we can't, they are going to be in an incredibly

22   vulnerable situation.      The receiver had made it very clear that

23   Strategic was not going to service anyone under an advanced fee

24   model.

25              Very clear.    You had made it very clear that advanced
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 8 of 20
                            Proceedings - 4/22/24                          115


 1   fee model is not going to cut it.       In order to get service, we

 2   had to get them over to a contingent model, which is exactly

 3   what the TSR requested.

 4              It's exactly what the order required.       And hopefully

 5   Strategic can service them.      If Strategic can't serve them, the

 6   law firms may be in a position to have to come before Your Honor

 7   and request permission to go to a different vendor.

 8              But we have 65,000 clients -- or whoever are left

 9   right now, that need to get off the dime because they are not

10   receiving service, because essentially the outsourced

11   administrative services provider that -- that does the lion

12   share of the administrative work paperwork, everything else

13   is -- is in a shut down.

14              And for us to provide value to those clients, we have

15   to move forward so again.

16              I apologize on behalf of that.      I read Your Honor loud

17   and clear.    We did not believe and do not --

18              THE COURT:   Well, I was definitely loud.       I don't know

19   if I was clear, but --

20              MR. ELLIOTT:    We understand it.    But the step that the

21   receiver is talking about is not going to be curative.

22              It's going to create further issues.       We think it's

23   wrong.   As a matter of law, we think it's unsupported by

24   evidence and we think it's going to be incredibly

25   counterproductive.
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 9 of 20
                            Proceedings - 4/22/24                          116


 1               And that last point I want to hit, because I think it

 2   dovetails with what you heard -- with what you heard from the

 3   banks earlier, as I said, the law firms have a duty to their

 4   clients.

 5               They are not receivership defendants.      They are not

 6   parties in this case.      There are no claims against them.

 7               THE COURT:   Well, they are interveners in this case.

 8               MR. ELLIOTT:    It's because --

 9               THE COURT:   You asked to get in and now you're in --

10               MR. ELLIOTT:    Right.

11               THE COURT:   -- right?

12               MR. ELLIOTT:    But there is no question --

13               THE COURT:   And you have to follow everything that

14   everybody else follows, right?

15               MR. ELLIOTT:    Correct.

16               THE COURT:   You can't intervene when you want to and

17   then jump out when you don't want to.

18               MR. ELLIOTT:    I misspoke.   My point is there are no

19   claims against them.       And I -- and the Government has not

20   brought any claims against them.

21               We understand that the receiver wants to send an

22   e-mail to our clients.      He wants to effectively substitute his

23   judgment.

24               THE COURT:   No.   I don't view it that way.     He wants

25   to send a letter to correct the misimpression that you put on to
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 10 of 20
                            Proceedings - 4/22/24                          117


  1   these people with the notice that you sent.

  2             MR. ELLIOTT:    The --

  3             THE COURT:    That's the way I view it.

  4             MR. ELLIOTT:    But they are already aware of that, what

  5   the receiver --

  6             THE COURT:    They are already aware of your misleading

  7   statements?    That they are misleading?

  8             MR. ELLIOTT:    They are aware --

  9             THE COURT:    That they are inappropriate and that they

10    mischaracterize what was going on?       They already know that?

11              MR. ELLIOTT:    They've already got full information on

12    this lawsuit.    It's been on the portal from -- for months.

13              THE COURT:    That's not good enough.     We need that

14    notice.

15              MR. ELLIOTT:    Well --

16              THE COURT:    If that's your argument, if all you are

17    going argue about is whether or not I'm sending that notice,

18    okay.

19              So move on to point B, if you have got a point B.

20              MR. ELLIOTT:    So my point B is simply this, Your

21    Honor, what you are grappling with today -- I think what we are

22    all grappling with today is where do we go from here?

23              The bank stood before you this morning.        I watched

24    that argument.    They want to come in and they want to

25    essentially foreclosure on the collateral.
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 11 of 20
                            Proceedings - 4/22/24                          118


  1             But what I also heard the bank saying is there might

  2   be a path forward and they are willing to talk to people about a

  3   path forward.

  4             I heard Mr. Thoman say on behalf of the receiver that

  5   he is interested -- and I wrote this down -- in protecting the

  6   growing concern value of Strategic having some value there.

  7             So some jobs are maintained, so some money comes in to

  8   this estate for everyone's benefit.       Right now there is a small

  9   fraction of Strategic's foreign business that is operating.

10              It is what they call the DTE.       It's Atlas and

11    Timberline.    It's the nonattorney inhouse contingent model.

12              Allowing Strategic to service the law firms' business

13    will dramatically increase the money coming into the estate.

14              That's the way to create value here and to protect an

15    in -- inevitable -- against an inevitable liquidation.

16              Our clients are converting the law firms clients are

17    converting to a contingent model.       It addresses the fee issue

18    that was in the -- in the preliminary injunction.

19              If they are going to stay with Strategic as a

20    vendor -- and that is absolutely our hope, Strategic has to be

21    able to service them.

22              If that's --

23              THE COURT:    I'd advise you to go out and get a new

24    vendor.

25              MR. ELLIOTT:    Pardon me?
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 12 of 20
                            Proceedings - 4/22/24                        119


  1             THE COURT:    Why don't you go out and get a new vendor?

  2             MR. ELLIOTT:    We need -- we need Court approval to get

  3   a new vendor.    We don't want to do that.      If we can't get this

  4   real property filing at -- with you, Your Honor.

  5             THE COURT:    Mr. Boyd.

  6             MR. BOYD:    So, Your Honor, part of the preliminary

  7   injunction -- and I think we pointed this out in our response to

  8   Mr. Connors, but it includes a prohibition on -- on benefiting

  9   from or using consumer information that was obtained prior to

10    entry of the TRO or the PI.

11              So -- you know, to the extent that these law firms --

12    and the evidence I think is clear, that Strategic generated all

13    of these clients, right?

14              It pays to send out these mailers.       It gets people in

15    the door and then it picks what law firms, actually, they are

16    going to go to based on their debt and state.

17              And, in fact, we saw evidence that Strategic creates

18    new law firms, so, you know, in our view, even if these law

19    firms got a new vendor, I'm not sure that they continue -- could

20    continue to take fees from these folks in a lawful manner, given

21    the existing preliminary injunction.

22              Now, look, again, if a consumer, having full

23    disclosure, getting what the receiver said and says, I want to

24    go and sign out sign up with a contingent fee debt relief

25    company, you know, they can do that.
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 13 of 20
                            Proceedings - 4/22/24                          120


  1             And if, you know, one of these lawyers wants to go

  2   form another contingent fee debt relief company, and they -- and

  3   the consumer still wants to sign up, that's fine.

  4             But as far as this existing customer base, I don't

  5   know even if the law firms hiring a new vendor would be

  6   allowable under the existing preliminary injunction.

  7             MR. ELLIOTT:    There is a lot packed in there for us.

  8             THE COURT:    Okay.

  9             MR. ELLIOTT:    There is just no evidence and there is

10    no support.    But the bottom --

11              THE COURT:    Does the preliminary injunction allow you

12    to go out and get a new vendor at this point?

13              MR. ELLIOTT:    We -- we believe it does, Your Honor.

14    We -- there is a stay and we read the stay to say that we need

15    Your Honor's permission to terminate the contract with Strategic

16    and to go find a new vendor.

17              We have not sought relief from that stay, because we

18    are trying, I think, with Strategic and with the banks and with

19    the receiver to find a way to make this work within Strategic.

20              We are trying to find that path forward and to bring

21    some value in -- you read our papers.       I can tell.

22              We think the 25 percent is -- well, I think

23    Mr. McNamara admitted how he came up with it.        There is no legal

24    requirement for 25 percent.

25              He chose that number because it seemed fair.         That the
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 14 of 20
                            Proceedings - 4/22/24                             121


  1   company he is using -- it's not as if --

  2              THE COURT:   Am I wrong?    Didn't Mr. Vacco run and

  3   didn't he use a 25 percent?

  4              MR. ELLIOTT:   I don't believe so.     I think the -- what

  5   came in was the existing percentages, from the existing clients,

  6   which I think is 30, winds up being 32, doesn't it?         Or

  7   something like that?

  8              MR. VACCO:   The DTC model is 25 percent.

  9              THE COURT:   The DTC model is 25 percent, so why

10    wouldn't it be 25 percent?

11               You are already using that percentage in the same type

12    of a -- of a business.

13               MR. ELLIOTT:   No.   It's not.   It's different.        The DTC

14    model is two inhouse nonlawyer firms.       They don't provide

15    litigation defense.

16               The law firms provide litigation defense.       That's the

17    component.   So the people at Atlas and Timberline, if they want

18    someone to defend them, they pay out some kind of an add on, a

19    rider.   It's a hundred dollars a month or something.

20               THE COURT:   I think you are better off with that then

21    this 34 percent is way, way -- that's way out of line.             Way out

22    of line.

23               And you are only charging 25 percent in the other one.

24    Did you make it clear in that notice that you sent out that

25    there is other options available, that you could switch over and
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 15 of 20
                            Proceedings - 4/22/24                            122


  1   do the 25 percent?

  2              MR. ELLIOTT:   Your Honor, it's absolutely not out of

  3   line.    If -- if we were to hear evidence on what other law firms

  4   charge out there in terms of -- of the overall amount, it's

  5   absolutely not out of line.

  6              THE COURT:   All right.    Keep going, Mr. Elliott.     Keep

  7   going.

  8              MR. ELLIOTT:   I mean, I -- we're prepared to present

  9   evidence on this, if you think that there is a some concern that

10    we're out of line with the market for people providing --

11               THE COURT:   I think you are out of line with it.

12               MR. ELLIOTT:   Okay.

13               THE COURT:   I think you are already going after people

14    who have already been victimized in the initial setup.

15               Now, you want to switch to a different setup and go

16    back to the same people.     It's -- it's flabbergasting to me.

17    I'm -- I don't know what else to say.

18               MR. ELLIOTT:   Your Honor, it's our desire to do

19    something with Strategic.

20               If Your Honor's position is that is just not going to

21    happen, then we can seek relief from the stay and move

22    elsewhere.

23               Again, that is not our preference, but --

24               THE COURT:   But you've got all these other issues, the

25    unauthorized practice of law, the fee, the fee splitting.          I
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 16 of 20
                            Proceedings - 4/22/24                           123


  1   can't -- that's, to me, right on its face, that's wrong,

  2   80/20 percent fee splitting between Strategic and the law firms.

  3             MR. ELLIOTT:    It's not a fee split, Your Honor, and

  4   this -- this goes to my other point, which is --

  5             THE COURT:    Well --

  6             MR. ELLIOTT:    -- there are a lot of rocks being

  7   thrown, but no claims.

  8             Mr. McNamara told you that there is fee splitting

  9   going on and when you asked him --

10              THE COURT:    He's got -- he's got a document by

11    Mr. Blust saying that that's what's going on.

12              MR. ELLIOTT:    It's not what that document says, but if

13    I could finish what he said --

14              THE COURT:    I'm sorry.    Go ahead and finish.

15              MR. ELLIOTT:    I'm sorry, Your Honor.

16              THE COURT:    And you will be finished here pretty soon.

17              MR. ELLIOTT:    I apologize, Your Honor.      You asked him

18    what's the law in fee splitting.       I wrote down what he said --

19    he said, I don't know that exactly, as I stand here right now.

20              We can't be accused of fee splitting without the

21    analysis of State law and it's not a fee split.

22              What -- what the client pays, that's called a service

23    charge, is a cost lawyers charge with fees and costs.          That

24    particular component is a cost component.

25              And, again, we've cleared this with the ethics counsel
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 17 of 20
                            Proceedings - 4/22/24                          124


  1   around the country.      These firms have operated for years.      Not a

  2   single State bar has ever raised a fee splitting issue with

  3   them, because it is not a fee split.

  4               Like any other law firm, mine included, they have

  5   vendors.    In this particular case, because of the volume of work

  6   that the vendor does, it's an enormous amount of money.

  7               The admin, the tracking, the software, all of that,

  8   that's done, that's a large amount of money.        That's what makes

  9   us different, perhaps, than -- than other costs that most law

10    firms use, but it is not a fee split.

11                We're happy to brief that -- we're happy to brief the

12    UPI.

13                THE COURT:   I don't need any more briefing on it.

14    Thank you.

15                MR. ELLIOTT:   Okay.   Thank you, Your Honor.

16                THE COURT:   Anybody else?

17                Mr. Vacco.

18                MR. VACCO:   Good afternoon, Your Honor.     I just wanted

19    to address a couple of points that have been raised by the

20    receiver.

21                The -- as has been pointed out already, the 25 percent

22    of percentage that's embedded in the plan initially came from, I

23    believe, from Joe O'Donnell, who works for the receiver.

24                And it does indeed reflect the percentage that's being

25    presently charged by the two contingent fee entities, Atlas and
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 18 of 20
                            Proceedings - 4/22/24                          155


  1              MR. PERSONIUS:   I may be excused?

  2              THE COURT:   Yes, sir.

  3              MR. PERSONIUS:   Thank you, Judge.

  4              THE COURT:   Okay.

  5

  6           (Recess commenced at 2:29 p.m., until 3:22 p.m.)

  7

  8              THE COURT:   Have a seat.

  9              MR. McNAMARA:    Your Honor, if I may approach the

10    podium?

11               THE COURT:   Sure.   Well, let's wait.     Make sure

12    we're -- we're on the record.

13               Just for the record, we're back on the record.

14               Would you like to go off the record or do you want

15    to --

16               MR. McNAMARA:    I would prefer to go off the record.

17               THE COURT:   We will now go off the record.

18               MR. McNAMARA:    That was quick.

19

20            (Recess commenced at 3:22 p.m., until 3:37 p.m.)

21

22               THE CLERK:   Back on the record.

23               THE COURT:   Okay.   We're back on the record.      We just

24    set a report back date that we're going to have a conference

25    here scheduled for May 29th to report back on the consultant
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 19 of 20
                            Proceedings - 4/22/24                           156


  1   report.

  2             I do want to put on the record that the -- I don't

  3   know -- receiver's going to redraft paragraph four of his

  4   requested order and bounce it off the parties and hopefully I'll

  5   have that signed by next Thursday.

  6             I also want to order that no other communications be

  7   made with any of the consumers by anybody regarding this case.

  8             Is that clear?    Does everybody understand that?        Okay.

  9             Mr. McNamara.

10              MR. ELLIOTT:    Your Honor, we have consumers reaching

11    out.   We --

12              THE COURT:    You can respond to their --

13              MR. ELLIOTT:    Thank you.

14              THE COURT:    I mean, a general statement to everybody.

15              Mr. Boyd, do you want to put something on the record,

16    sir?

17              MR. BOYD:    Just briefly, Your Honor, just because I

18    don't want the law firms to hear about this case and view that

19    narrowly, right?

20              So I would think that they would view that their last

21    communication about converting clients was not, quote, unquote,

22    about this case.

23              So just --

24              THE COURT:    Right.

25              MR. BOYD:    -- make the scope.
Case 1:24-cv-00040-EAW-MJR Document 353-3 Filed 05/06/24 Page 20 of 20
                            Proceedings - 4/22/24                             157


  1              THE COURT:   Nobody should have any communications with

  2   a consumers about anything.       Period.   Okay?

  3              MR. BOYD:    That works, Judge.

  4              THE COURT:   Okay.

  5              MR. ELLIOTT:   Your Honor, may I be heard on that?         May

  6   I be heard on that?

  7              On behalf of the law firms, we have clients we

  8   communicate -- the lawyers communicate with them every day.            The

  9   paralegals communicate with them every day.

10               THE COURT:   I want no general statement like the one

11    you sent out without notifying everybody before.

12               Do you understand that, sir?

13               MR. ELLIOTT:   I do understand it, Your Honor.          And --

14               THE COURT:   Okay.

15               MR. ELLIOTT:   -- and I've been trying to -- to --

16               THE COURT:   That's what I want.

17               MR. ELLIOTT:   Okay.

18               THE COURT:   I think it's clear.     I don't think I need

19    to expand on it any more.

20               MR. ELLIOTT:   May I just for clarification ask the

21    same question Mr. McNamara did, which is in light of the back

22    and forth that's gone on, some of the --

23               THE COURT:   Yes.    You can deal with your individual

24    clients.

25               MR. ELLIOTT:   Thank you.
